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                                 U.S. BANKRUPTCY COURT
                                  District of South Carolina

Case Number: 19-00498-jw



                                        Consent Order



The relief set forth on the following pages, for a total of 3 pages including this page, is
hereby ORDERED.




       FILED BY THE COURT
           09/25/2019




                                                   US Bankruptcy Judge
                                                   District of South Carolina



        Entered: 09/25/2019
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                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA


In re:                                                     Case No. 19-00498-jw


         Darrell LL King and Saqoiya Lashay King
                                                           Chapter 13

         Debtors

           CONSENT ORDER GRANTING RELIEF FROM AUTOMATIC STAY

             This matter comes before the Court upon the request and motion of Sloane Realty’s
    (“Movant”) Motion for the Entry of an Order Granting Relief to Modify the Automatic
    Stay under 11 U.S.C. § 362(d) (“Motion”).
                                         RELIEF REQUESTED
             1.     Movant has requested that it be allowed to evict the Debtors from the leased
    Property for failure to make payments.
             2.     The Debtors, through their attorney, filed an objection to the Motion.
             3.     The Debtors and Movant have now agreed to the following relief and
    conditions:
                    a. The Debtors will have vacated the property located at 1886 Maple Leaf
                        Ct. Charleston SC, 29414 no later than 9:00 a.m. Thursday September
                        19, 2019. The Movant will conduct an inspection at that time.


                    b. The Movant will be entitled to keep the security deposit to cover unpaid
                        rent, but $240 will be refunded to the Debtors so long as there is no
                        damage to the property, other than wear and tear. Any damages found
                        at the inspection on 9/19/19 will be described and will reduce the $240
                        refund.
                    c. The Movant will have three business days to provide the Debtors with
                        an accounting for any damages that may be applied and reduce the
                        limited refund of the security deposit.




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                 d. Movant will not be required to account for the remainder of the deposit
                     as the Debtors acknowledge that the unpaid post-petition rent is
                     approximately $2,323.
                 e. Movant will not seek to collect any unpaid rent from the Debtors and
                     releases any and all of its claim against them for unpaid rent.
                 f. Movant is reserving its right to file, a late proof of claim should there be
                     damage to the property in excess of the $240 refund described above.
                     The Debtors reserve their right to file an objection to any claim filed by
                     the Movant and/or contest the Movant’s ability to file a late proof of
                     claim.
         NOW, THEREFORE, with the consent of Counsel for the Debtors,
         it is HEREBY ORDERED that the relief sought in the Motion is hereby
  GRANTED;
         It is further ORDERED that pursuant to 11 U.S.C. § 362(d), Movant is
  granted relief from the automatic stay and Movant may take the necessary actions in state
  court to address the removal of the Debtors from the property;
         It is further ORDERED that the terms and conditions of the parties consent, set out
  above, are adopted by the Court as part of this consent order.
          AND IT IS SO ORDERED.


  WE SO CONSENT:

  Markham Law Firm, LLC                            Walker, Gressette, Freeman & Linton, LLC

  __/s/Sean Markham                                /s/ Jennifer S. Ivey
  Sean Markham, Dist. I.D. # 10145                 Jennifer S. Ivey, Esq.
  SC Bar # 70688                                   Attorney for Debtor
  NC Bar # 54200                                   Walker, Gressette, Freeman & Linton, LLC
  Attorney for Movant                              Mailing: P.O. Drawer 22167, Charleston,
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  Charleston, SC 29413-0074                        Office: 66 Hasell St., Charleston, SC 29401
  Tel: 843-284-3646                                Tele.: (843) 727-2200
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